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                       IN THE UNITED STATES DISTRICT COURT
                           NORTHERN DISTRICT OF INDIANA

JOSEPH ELWELL, CRYSTAL                     )
ELWELL, DEBORAH BALDWIN,                   )
Individually and as custodian for her      )
Minor children WM and AM,                  )
ROBERT BALDWIN,                            )
                                           )      Case No. 2:16-CV-158
               Plaintiffs,                 )
                                           )
       v.                                  )
                                           )
FIRST BAPTIST CHURCH OF                    )
HAMMOND, INC.,                             )
                                           )
               Defendant.                  )

                        COMPLAINT AT LAW AND JURY DEMAND

       Plaintiffs, JOSEPH ELWELL, CRYSTAL ELWELL, DEBORAH BALDWIN,

individually and as custodian for her minor children WM and AM, and, ROBERT BALDWIN,

through their attorneys, Higgins & Burke, P.C., bring this Complaint at Law and Jury Demand

against Defendant First Baptist Church of Hammond, Inc., an Indiana non-profit domestic

corporation, stating as follows:

                                         The Parties


       1.      Plaintiffs Joseph Elwell and Crystal Elwell resided in Schererville, Indiana

between September 2006 and July 2009. They currently reside in Yuma, Arizona and have done

so since September 2009.

       2.      Plaintiff Deborah Baldwin (“Ms. Baldwin”) resided in Crown Point, Indiana from

August 2003 until August 2008. From August 2008 until January 2009, Ms. Baldwin resided in

New Holstein, Wisconsin. She is the mother and custodian of AM and WM, who are both minor


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children. She currently resides with her children and husband, Plaintiff Robert Baldwin, in Kiel,

Wisconsin and has done so since January 2009.

       3.      First Baptist Church of Hammond, Inc., formerly known as First Baptist Church

of Hammond, an Indiana non-profit domestic corporation, was at all times relevant located at

507 State Street, Hammond, Indiana (hereafter, “First Baptist Church”).

                                   The Relevant Non-Parties

       4.      Between March 2001 and July 31, 2012, Jack Schaap was employed as the pastor

of First Baptist Church (hereinafter, “Pastor Schaap”). Pastor Schaap also served as the

Chancellor of Hyles-Anderson College, a ministry of First Baptist Church.

       5.      At all times relevant, Thomas Kimmel served on the Board of Deacons for the

First Baptist Church, served on the Hyles-Anderson College Board of Directors, and was held

out by Defendant as a certified financial independence consultant and debt management

specialist. Mr. Kimmel was hired by the First Baptist Church to provide one-on-one financial

counseling at the church. He operated out of an office space in a building next to the church,

which was owned by Defendant (hereafter, Kimmel’s “First Baptist Church Office”).

                                    Jurisdiction and Venue

       6.      This Court has diversity jurisdiction over the parties and this action pursuant to 28

U.S.C. §1332 as the matter in controversy exceeds $75,000.00, exclusive of interest and costs,

and, as set forth in paragraphs 1 through 3 above, is between citizens of different states. As set

forth more fully herein, Plaintiffs Joseph and Crystal Elwell bring these claims to recover losses

for investments they made through Defendant in the amount of approximately $225,000.00.

Plaintiffs Deborah and Robert Baldwin bring these claims to recover losses for investments they

made through Defendant in the amount of approximately $235,400.00.



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        7.     Venue is proper in this district pursuant to 28 U.S.C. §1391(b)(1) through (2) as

Defendant’s principal place of business is located herein, in the City of Hammond, Lake County,

Indiana and a substantial part of the events or omissions giving rise to the claims occurred in this

district.

                              Factual Allegations Applicable to All Counts

                     Pastor Schaap and Mr. Kimmel Were Agents of the Defendant

        8.     At all times relevant, Pastor Schaap was employed as the Pastor of First Baptist

Church and regularly conducted church services and masses attended by Defendant’s

parishioners, including Plaintiffs.

        9.     Defendant granted Pastor Schaap the sole authority to hire and fire his staff at

First Baptist Church.

        10.    By January 2006, Pastor Schaap had hired Mr. Kimmel to act as an employee of

First Baptist Church for the purposes of providing financial advice, debt counseling, budgeting,

and investment advice to members of the First Baptist Church. Upon information and belief,

Defendant paid Mr. Kimmel a salary or stipend to act as a financial advisor to its parishioners.

        11.    Defendant provided Mr. Kimmel with an office on Defendant’s property with his

name and title on the door for the purposes of meeting with parishioners of First Baptist Church

and providing them with financial, investment, budgeting and debt counseling.

        12.    During church services, Pastor Schaap would inform members of the church that

Mr. Kimmel was the church’s financial advisor with offices on church premises and was

available to members of the church for financial advice.

        13.    Pastor Schaap would preach from the pulpit about investing through Mr. Kimmel

and would encourage members of the congregation to attend classes taught by Kimmel about



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handling finances, investing money and getting out of debt. Pastor Schaap informed parishioners

from the pulpit that Mr. Kimmel’s financial services would provide them with more money

which would, in turn, allow them to give more money to Defendant First Baptist Church and aid

its ministry and mission.

       14.     If a member was interested in meeting with Mr. Kimmel at his First Baptist

Church Office on Defendant’s property, Defendant would set up the appointment for Mr.

Kimmel and make the necessary arrangements.

       15.     Through the above mentioned representations and manifestations of Pastor

Schaap, and through Defendant providing Mr. Kimmel with his First Baptist Church Office and

setting the appointments at that office, members of the congregation, including Plaintiffs, were

instilled with a reasonable belief that Mr. Kimmel was employed by Defendant for the purposes

of providing financial counseling and investment advice to members of First Baptist Church.

       16.     Through the actions of Pastor Schaap and through Defendant providing Mr.

Kimmel with his First Baptist Church Office and setting the appointments for financial

counseling at that office, Defendant placed Mr. Kimmel in a position that enabled him, while

apparently acting within the authority of Defendant, to provide financial counseling and

investment advice to members of the First Baptist Church, including Plaintiffs.

       17.     By employing Mr. Kimmel, providing him an office on church property,

arranging and setting his appointments, and providing him financial compensation for his

services, Defendant consented to Mr. Kimmel acting as its agent for the purposes of providing

financial advice to members of the church.




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        18.         Mr. Kimmel was, in fact, employed by Defendant and held out by Defendant and

its agent, Pastor Schaap, as a financial advisor providing financial advisory services to members

of First Baptist Church.

        19.         Mr. Kimmel agreed to the arrangement with First Baptist Church and did, in fact,

meet with parishioners at his First Baptist Church Office for the purpose of providing financial

advice at all times relevant to this complaint.

        20.         Beginning in or around February 2006, Mr. Kimmel began informing parishioners

about an investment in a collateralized note program related to Sure Line Acceptance

Corporation, (the “Sure Line Investments”). Mr. Kimmel represented to parishioners, including

Plaintiffs, that:

                    a. Sure Line was a company located in North Carolina that operated car lots

                       under the name of Automocian, and that Sure Line made loans and financed

                       cars in the sub-prime market;

                    b. The Sure Line Investment was a Collateralized Note Program that held a two-

                       to-one collateral ratio for each dollar invested;

                    c. An investment in a Sure Line collateralized note could earn investors as much

                       as 12% interest per year;

                    d. The corporate officers and managers of Sure Line were all Christian and were

                       of like beliefs;

                    e. That Mr. Kimmel had $450,000 of his own money invested in Sure Line;

                    f. That the First Baptist Church of Hammond and Pastor Schaap had invested

                       $1,000,000.00 in Sure Line;

                    g. That Pastor Schaap endorsed the Sure Line Investment; and,



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               h. That Mr. Kimmel would not receive any commission or payment from

                     investments in Sure Line.


       (Subparagraphs 20 a through h are collectively hereafter, the “Sure Line Investment

Representations”).


       21.     Mr. Kimmel made these Sure Line Investment Representations to parishioners of

First Baptist Church during the classes he taught at First Baptist Church about budgeting,

finances and debt while acting in his employ with Defendant. Mr. Kimmel also made these Sure

Line Investment Representations to parishioners of the First Baptist Church during meetings

arranged by Defendant with parishioners in his First Baptist Church Office to provide them the

financial advice he was hired to provide.

       22.     Mr. Kimmel and Pastor Schaap reached agreements by which they would both

receive commissions for sales of the Sure Line Investments. Specifically, Pastor Schaap received

a 1% commission on each First Baptist Church parishioner’s investment, while Mr. Kimmel

received a 10% commission. Pastor Schaap and Mr. Kimmel did not disclose these commissions

to any parishioners.

       23.     First Baptist Church and Pastor Schaap could have terminated Mr. Kimmel’s

ability to provide financial services to parishioners, solicit the Sure Line Investments, and the

right to use his First Baptist Church Office for the same purposes at any time.

       24.     Upon information and belief, in or about November 2007, Pastor Schaap and Mr.

Kimmel were advised by an attorney retained by First Baptist Church named David Gibbs that

they should not be offering the Sure Line Investments to parishioners because it could violate

Indiana law and the parishioners were largely unsophisticated investors.



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       25.     Upon information and belief, on or about November 7, 2007 attorney Gibbs wrote

a letter to Mr. Kimmel advising him and Pastor Schaap that selling the Sure Line Investments

could expose Defendant and Mr. Kimmel to liability for selling unlicensed securities.

       26.     Despite this information, Defendant did not terminate Mr. Kimmel’s ability to

provide financial advice to its parishioners. Rather, Pastor Schaap and Mr. Kimmel continued to

use their positions as agents of the Defendant to encourage parishioners to meet with Mr.

Kimmel and discuss the Sure Line Investments, all the while earning their undisclosed

commissions.

                                        Mr. Elwell’s Investments

       27.     Joseph Elwell is sixty-one (61) years old and currently lives in Yuma, Arizona,

where he is pastor of the Liberty Baptist Church of Yuma. Mr. Elwell graduated from Hyles-

Anderson College in 1986, and has spent the past 29 years serving as a pastor and missionary

starting churches across the United States.

       28.     Since January 2000, Mr. Elwell has been employed by First Baptist Church as a

Missionary. From May 2006 until July 2009, Mr. Elwell was employed by First Baptist Church

as the North American and Carribean director for the Fundamental Baptist Mission Board

operated by First Baptist Church. During that time, Mr. Elwell also taught classes at Hyles-

Anderson College, a ministry of the First Baptist Church of Hammond.

       29.     Through his involvement with the First Baptist Church of Hammond, Mr. Elwell

came to learn of investment opportunities offered through Thomas Kimmel, a financial counselor

through the church.

       30.     Pastor Schaap informed Mr. Elwell that he had hired Mr. Kimmel to act as a

financial advisor to the people of First Baptist Church.



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          31.   In or about December 2006, Mr. Kimmel approached Mr. Elwell in the

administrative office at Hyles-Anderson College regarding investing in a company called Sure

Line Acceptance Corporation (hereinafter “Sure Line”).

          32.   In soliciting Mr. Elwell to invest in Sure Line, Mr. Kimmel made the following

representations (hereafter, the “Solicitation of the Elwells”):

                a. That Sure Line was a company located in North Carolina that operated car lots

                   under the name of Automocian, and that Sure Line made loans and financed

                   cars in the sub-prime market;

                b. That the corporate officers and managers of Sure Line were all Christian and

                   were of like beliefs;

                c. That Mr. Kimmel had $450,000 of his own money invested in Sure Line;

                d. That the First Baptist Church of Hammond and Pastor Schaap had invested

                   $1,000,000.00 in Sure Line;

                e. That Mr. Kimmel would not receive any commission or payment from Mr.

                   Elwell’s investment in Sure Line; and

                f. That Sure Line was a Collateralized Note Program that held a two-to-one

                   collateral ratio for each dollar invested.

          33.   As a member of the First Baptist Church of Hammond, Mr. Elwell often

counseled with Pastor Schaap regarding personal and spiritual matters, as well as financial

matters.

          34.   In or about December 2006, Mr. Elwell spoke with Pastor Schaap regarding Mr.

Elwell’s recent September 2006 wedding and marriage to his wife, combining their financial

assets.



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       35.      During said counseling, Pastor Schaap, advised Mr. Elwell that he should discuss

his financial and investment concerns with Mr. Kimmel, who had been hired by the Defendant to

handle such matters.

       36.      Pastor Schaap further stated that Mr. Elwell should trust Mr. Kimmel and do

whatever he advised regarding Mr. and Mrs. Elwell’s finances, including investing in Sure Line.

       37.      At all times relevant, Pastor Schaap failed to inform Mr. Elwell that Pastor

Schaap received a referral fee of one percent (1%) of every investment that he referred to Mr.

Kimmel.

       38.      Relying upon the advice of Pastor Schaap and the representations of Mr. Kimmel,

in or about December 2006, Mr. and Mrs. Elwell decided to consolidate their finances and invest

in Sure Line.

       39.      On or about January 2, 2007, Mr. and Mrs. Elwell executed a document entitled,

“Collateralized Loan Agreement,” and returned it to Sure Line along with a check in the sum of

$160,000.00 for a Sure Line Investment.

       40.      Mr. and Mrs. Elwell regularly received payments represented as “interest”

payments on that investment between February 2007 and October 2009 leading them to believe

that their money was in a legitimate investment and earning them interest.

       41.      In or about October, 2009, Mr. and Mrs. Elwell tendered an additional $65,000.00

to Mr. Kimmel for a second Sure Line Investment.            Mr. Kimmel reaffirmed his previous

representations to the Elwells concerning the Sure Line Investments at that time.

       42.      From October 2009 through December 2011, Mr. and Mrs. Elwell regularly

received payments represented as “interest” payments on their investments, leading them to

believe that their investments were legitimate and they were, in fact, earning interest.



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                                  Ms. Baldwin’s Investments


       43.    Ms. Baldwin moved to Crown Point, Indiana in 2003 after her first husband died

in a helicopter crash while he was serving in the U.S. Air Force. That same year, she began

attending First Baptist Church with her two sons, WM and AM.

       44.    As a result of her first husband’s untimely passing, Ms. Baldwin had received life

insurance proceeds that she hoped would enable her to take care of her two children.

       45.    Ms. Baldwin regularly attended church services conducted by Pastor Schaap. She

regularly heard Pastor Schaap encourage parishioners from the pulpit to attend finance classes

taught by Mr. Kimmel, set appointments with Mr. Kimmel for financial advice, and invest

through Mr. Kimmel.

       46.    In late 2007, Ms. Baldwin met with Pastor Schaap in his capacity as pastor of

First Baptist Church. During that meeting, Ms. Baldwin asked Pastor Schaap for guidance

because she had money to invest and did not know where to turn. Pastor Schaap directed her to

Mr. Kimmel as the person hired by Defendant to teach and advise parishioners on finance,

budgeting, debt management and investing.

       47.    Ms. Baldwin placed trust and confidence in Pastor Schaap as her Pastor, a part of

the church she attended, and what she considered to be the church family that she grew to know

from a time when she was a widow with two small children.

       48.    Ms. Baldwin placed trust and confidence in Mr. Kimmel because he was

repeatedly endorsed by Pastor Schaap, his family was grounded in the church, he was a deacon,

and he was working for First Baptist Church when providing her financial advice, investment

advice and debt counseling.




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       49.     In January 2008, Ms. Baldwin began attending Mr. Kimmel’s classes through

First Baptist Church that were offered to its parishioners on church premises.

       50.     During those classes, Mr. Kimmel would use the Bible to teach the class,

including Ms. Baldwin, the importance of being wise with money and would talk about the Sure

Line Investments. Mr. Kimmel would encourage the class to set individualized appointments

with him at his First Baptist Church Office.

       51.     Ms. Baldwin set an appointment with Mr. Kimmel and met with Mr. Kimmel at

his First Baptist Church Office in early 2008. At that initial appointment, Ms. Baldwin met with

Mr. Kimmel about budgeting and financial management and they also discussed the possibility

of Ms. Baldwin investing in Sure Line. Mr. Kimmel informed Ms. Baldwin that the investment

would be a minimum of $25,000.00, but she did not make a decision to invest during that initial

appointment.

       52.     Between January and August of 2008, Ms. Baldwin and her children became

close with Mr. Kimmel and Mr. Kimmel’s wife. The Kimmel’s even visited Ms. Baldwin and

her children at her home.

       53.     In April of 2008, Ms. Baldwin remarried to her now husband Robert Baldwin.

After their wedding, Ms. Baldwin and Robert Baldwin decided to meet with Mr. Kimmel at his

First Baptist Church Office to discuss their financial future and investments. They had that

meeting in May 2008.

       54.     During the May 2008 meeting, Mr. Kimmel solicited the Baldwins to invest in

Sure Line. In soliciting the Baldwins to invest in Sure Line, Mr. Kimmel made the following

representations (hereafter, the “Solicitation of the Baldwins”):




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                 a. Investing with Sure Line was the best option to protect her money and money

                    for her children;

                 b. That Sure Line was a company located in North Carolina that operated car lots

                    under the name of Automocion, and that Sure Line made loans and financed

                    cars in the sub-prime market;

                 c. That the corporate officers and managers of Sure Line were all Christian and

                    were of like beliefs;

                 d. That Mr. Kimmel had his own money invested in Sure Line;

                 e. That the First Baptist Church of Hammond and Pastor Schaap had invested in

                    Sure Line;

                 f. That the Sure Line Investment was endorsed by Pastor Schaap;

                 g. That Ms. Baldwin would earn 12% interest per year on the money invested;

                 h. That Mr. Kimmel would not receive any commission or payment from Ms.

                    Baldwin’s investment in Sure Line; and

                 i. That Sure Line was a Collateralized Note Program and Sure Line had the

                    inventory to pay all the investors back all of their invested money.

       55.       That day, after finishing the May 2008 meeting with Mr. Kimmel, the Baldwin’s

met with Pastor Schaap and informed him they had just met with Mr. Kimmel at his First Baptist

Church Office.

       56.       Based on Mr. Kimmel’s representations in the May 2008 meeting, the Baldwins

decided that investing in the Sure Line Investments was a safe option to protect their finances

and Ms. Baldwin’s children’s financial future.




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       57.     In June 2008, the Baldwin’s invested $25,000.00 in a Sure Line Investment

through Mr. Kimmel. The investment was to provide interest payments each month at a rate of

12% per annum (hereafter, the “Baldwin’s Initial Sure Line Investment”).

       58.     On September 11, 2008, Ms. Baldwin, as the custodian for her son WM, tendered

$81,500.00 to Mr. Kimmel for a Sure Line Investment for the benefit of WM. That same day,

Ms. Baldwin tendered an additional $81,500.00 to Mr. Kimmel for a Sure Line Investment for

the benefit of her son AM. (hereafter, the “Childrens’ Sure Line Investments”).

       59.     Shortly thereafter, the Baldwins increased the Childrens’ Sure Line Investments

to $103,700.00 each for a total of $207,400.00 and increased their Initial Sure Line Investment

by adding another $50,000.00. However, in December 2008, the Baldwin’s withdrew the

additional $50,000.00 from their Initial Sure Line Investment to purchase a new home. That

“withdrawal” created the illusion and reasonable belief in the Baldwins that their money was, in

fact, invested in Sure Line and safe.

       60.     On September 11, 2009, the Baldwins entered into a $3,000.00 add-on to their

Initial Sure Line Investment and tendered the funds to Mr. Kimmel. This brought the value of the

Baldwin’s Initial Sure Line Investment to $28,000.00.

       61.     Mr. Kimmel ensured Ms. Baldwin that all the money invested would be safe and

that Sure Line had plenty of inventory to act as collateral so that all investors could be paid if

Sure Line ever ran into any problems.

       62.     At no time during their Sure Line Investments did Mr. Kimmel or Pastor Schaap

ever disclose that they received a financial benefit from the Baldwin’s investments.




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        63.    In the years 2008, 2009, 2010 and 2011, the Baldwins received regular interest

payments on the Baldwins’ Initial Sure Line Investment and on the Childrens’ Sure Line

Investment.

        64.    In January 2012, Sure Line sent correspondence to the Baldwins informing that

Sure Line was unable to make interest payments that month. At that time, the Baldwins were

informed by Mr. Kimmel that the inability to pay had to do with new regulations under the

Dodd-Frank Act. They were led to believe by Mr. Kimmel that everything else was fine and that

their investment remained secured.


                         The Sureline Investment Scheme Falls Apart


        65.    Contrary to the representations made to the Elwells and the Baldwins in January

2012, Sure Line’s inability to pay was not based on new government regulations but on a

financial collapse precipitated by years of undisclosed and misrepresented financial problems

and, more importantly, the theft of investor funds for use in a Ponzi Scheme orchestrated by Mr.

Kimmel.

        66.    By no later than January 2008, Mr. Kimmel was aware that Sure Line did not

have the 2-to-1 collateral represented to investors and that the company was, in fact, losing

money and in danger of going under. Mr. Kimmel did not disclose this information to Plaintiffs.

        67.    By no later than June 2008, Mr. Kimmel knew that the money that he was

obtaining from investors he solicited and sold Sure Line Investments to was actually being used

to make interest payments to prior investors. Mr. Kimmel did not disclose this information to

Plaintiffs.

        68.    In truth, between 2006 and 2011, the Sure Line Investments were not backed by a

two-to-one collateral ratio that allowed each dollar invested to be backed by more than one dollar

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of collateral. The combined assets of Sure Line were far less than the amount of collateral

represented to investors, including Plaintiffs, from 2006 to 2011 and Mr. Kimmel had knowledge

of this fact.

          69.   In order to hide the true state of the financial condition of Sure Line from 2006 to

2011, new money from new investors was used to repay past investors’ principal and interest and

pay undisclosed commissions to Pastor Schaap and Mr. Kimmel. These payments created the

appearance that the investments were legitimate and generating revenue while creating a cycle

where more and more investor money was needed to pay off the increasing interest payments. In

short, investor funds were not being invested as represented, but were instead being used to pay

off other duped victims of the scheme and conceal the scheme.

          70.   Ultimately, the scheme fell apart in January 2012 when there was not enough new

investor money coming in to perpetuate the scheme and continue the illusion of legitimacy and

profit.

          71.   In January of 2012, Sure Line went into a Court ordered receivership in Case No

12-CVS-125 in Craven County, North Carolina (the “Receivership Action”). On January 25,

2012, the Court entered an order in the receivership action appointing a receiver and enjoining

and staying all persons seeking relief from Sure Line’s assets, including Sure Line noteholders

like Plaintiffs, from commencing or litigating any legal proceedings related to their Sure Line

Investments that could, directly or indirectly, interfere with the Receiver’s performance of his

duties and the administration of Sure Line’s assets (the “Stay Order”).

          72.   At the onset of the Receivership Action, Plaintiffs had not been alerted of any

potential fraudulent conduct and believed that they would be paid back through the Receivership




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Action. Taking the only reasonable course of conduct, Plaintiffs submitted proof of claim forms

to the receiver in the Receivership Action in or about June 2012.

       73.     From June 2012 until receipt of a final distribution on or about April 8, 2015,

Plaintiffs participated in the Receivership Action in an effort to recover their losses pursuant to

the Stay Order. As of the date of the April 2015 distribution, the Stay Order had not been lifted

in the Receivership Action.

       74.     During the pendency of the Receivership Action, on August 21, 2013, Mr.

Kimmel was indicted for his conduct in carrying out the Sure Line Ponzi Scheme. That

indictment charged Mr. Kimmel for such acts as conspiracy to commit wire fraud and mail fraud

relative to his sale and solicitation of the Sure Line Investments (the “Indictment”).

       75.     Around the time of the Indictment in late summer 2013, Ms. Baldwin took part in

a conference call with the FBI investigator and prosecutor. During that call, Ms. Baldwin learned

for the first time that Pastor Schaap and Mr. Kimmel had concealed from the Baldwin’s that:

               a. Pastor Schaap was receiving a 1% commission for each of the Baldwin’s Sure

                   Line Investments;

               b. Mr. Kimmel was making a 10% commission on their Sure Line Investments;

                   and,

               c. 25% of the funds they invested were taken off the top to pay commissions as

                   soon as the Baldwin’s tendered checks to Mr. Kimmel for their Sure Line

                   Investments and their Childrens’ Sure Line Investment.

       76.     Mr. Kimmel was tried for the alleged crimes from the Indictment in June 2014.

       77.     It was not until Mr. Kimmel’s criminal trial that Mr. and Mrs. Elwell learned

through testimony in June 2014 that:



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              a.   Pastor Schaap was receiving a 1% commission for each or their Sure Line

                   Investments and the investments of other investors from First Baptist Church;

              b. Mr. Kimmel was making a 10% commission on their Sure Line Investments

                   and the investments of other First Baptist Church parishioners;

              c. 25% of the funds they invested were taken off the top to pay commissions as

                   soon as the Elwell’s tendered checks to Mr. Kimmel for their Sure Line

                   Investments.

       78.    It was not until testimony in Mr. Kimmel’s criminal trial in June 2014 that the

Baldwin’s and the Elwell’s learned:

              a. The representations concerning the collateral supporting the Sure Line

                   Investments were false and that Sure Line did not have the collateral to

                   support repayment of the Sure Line Investments;

              b. Mr. Kimmel had previously been served with a cease and desist order from

                   the Alabama department of securities informing that the sale of the Sure Line

                   Investments was the unlawful sale of unregistered securities;

              c. The Sure Line Investments were actually a Ponzi Scheme in which the funds

                   from new investors were used to make payments to other investors as phony

                   “interest payments” to disguise the fact that the investment was illegitimate

                   and conceal and perpetuate the fraudulent scheme;

              d. An attorney for First Baptist Church had informed Pastor Schaap and Mr.

                   Kimmel as early as 2007 that the Sure Line Investments were likely in

                   contravention of Indiana law;




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               e. That the managers and officers of Sure Line were not Christians of like belief

                   to Plaintiffs;

               f. Mr. Kimmel did not actually have any personal investments in Sure Line; and,

               g. First Baptist Church did not invest in Sure Line.


         Schaap and Kimmel Concealed the Scheme from Plaintiffs and Parishioners


       79.     Plaintiffs could not have learned of the truth of Pastor Schaap and Mr. Kimmel’s

actions, wrongdoing and the benefit conferred from that wrongdoing because Pastor Schaap and

Mr. Kimmel deliberately concealed the truth of their scheme and omitted material facts from

Plaintiffs by taking advantage of their positions of trust.

       80.     While acting as a fiduciary as Plaintiffs’ pastor, Pastor Schaap omitted to inform

Plaintiffs that he was receiving a 1% commission on the investments he encouraged them to

make through Mr. Kimmel as the financial advisor employed by Defendant. Pastor Schaap

equally omitted that he knew, as early as November 2007, that he and Mr. Kimmel, as agents of

Defendant, should not have been soliciting and encouraging parishioners to purchase the Sure

Line Investments as they were likely a violation of Indiana law.

       81.     Mr. Kimmel stood in a position of superior knowledge to Plaintiffs as a seller of

their Sure Line Investments and as their financial advisor. Plaintiffs reposed trust and confidence

in Mr. Kimmel in that relationship.

       82.     Mr. Kimmel abused that trust and confidence by omitting and deliberately

concealing material facts from Plaintiffs including that:

               a. Mr. Kimmel was receiving a 10% commission on their investments;

               b. Pastor Schaap was receiving a 1% commission;



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                c. 25% of investor funds were being taken off the top as soon as their checks

                       were handed over to Mr. Kimmel;

                d. Sure Line was not actually a two-to-one collateralized investment; and,

                e. Investor funds were not being used to invest as represented but were being

                       used in a “robbing Peter to pay Paul” scheme in which their funds went to pay

                       off previously duped investors.

        83.     Because Pastor Schaap and Mr. Kimmel, while acting in their capacity as agents

or apparent agents of Defendant, concealed these facts through deception, Plaintiffs could not

discover the true nature of the scheme and the harm they had suffered until it was revealed in

testimony under oath at Mr. Kimmel’s trial in June of 2014.

        84.     Defendant, through its agents Schaap and Kimmel, prevented Plaintiffs from

obtaining the knowledge necessary to pursue a claim against Defendant.

                                        Count I – Constructive Fraud

        85.     Plaintiffs incorporate the allegations in paragraphs 1 through 84 above as though

stated fully herein.

        86.     At all times relevant, in carrying out their duties, Pastor Schaap and Mr. Kimmel

acted as the agents or, in the alternative, as apparent agents of Defendant.

        87.     While acting as Defendant’s agent and in the scope of his employment, Pastor

Schaap would inform members of the church, including Plaintiffs, during his sermons and other

church services that Mr. Kimmel was employed by Defendant as a financial advisor for the

parishioners of the church.




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       88.     Mr. Kimmel’s actions in providing financial and investment advice, including

advising Plaintiffs to invest in the Sure Line Investments, were incidental to his duties at First

Baptist Church.

       89.     Mr. Kimmel’s wrongful conduct originated in activities closely associated with

his work at First Baptist Church and Defendant’s employment of Mr. Kimmel empowered him

and provided him the opportunity or the means to advise members of the church, including

Plaintiffs, on the Sure Line Investments.

       90.     Mr. Kimmel’s advice to Plaintiffs to invest in Sure Line was:

               a. Of the same general nature as his duties to provide financial advice,

                   counseling on getting out of debt, and investment advice to parishioners; and,

               b. Intermingled with, and arising out of, his authorized duties to provide

                   financial advice to members of First Baptist Church from his First Baptist

                   Church Office.

       91.     Defendant, through its agents Schaap and Kimmel, owed a duty to Plaintiffs due

to the relationship between the parties.

       92.     Pastor Schaap, as a pastor, had a fiduciary relationship with Plaintiffs and

Plaintiffs reposed a special trust and confidence in Pastor Schaap. As a result of this trust and

confidence, Pastor Schaap exercised influence over members of the First Baptist Church,

including Plaintiffs.

       93.     Plaintiffs also imposed special trust and confidence in Mr. Kimmel as a Deacon of

the First Baptist Church and as a financial advisor for members of the church. Due to the trust

and confidence reposed in Mr. Kimmel by Plaintiffs, Mr. Kimmel enjoyed superiority and




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influence over Plaintiffs’ decisions to invest in the Sure Line Investments and superior

knowledge concerning the nature and truth of the Sure Line Investments.

       94.     Mr. Kimmel and Plaintiffs also had a relationship of seller and buyer in that Mr.

Kimmel solicited and orchestrated the sales of, and Plaintiffs’ purchases of, the Sure Line

Investments. Due to Mr. Kimmel’s role as a seller, he had a unique position of knowledge about

the Sure Line Investments and a position of superiority over Plaintiffs’ relative to the same.

       95.     Defendant, through its agents Schaap and Kimmel, violated its duties to Plaintiffs

by the making of false or material misrepresentations of past or existing facts or by remaining

silent when a duty to speak existed.

       96.     Defendant, through its agent Mr. Kimmel, made misrepresentations to Plaintiff in

the Sure Line Investment Representations, the Solicitation of the Elwells and the Solicitation of

the Baldwins identified above.

       97.     Defendant, through its agents Pastor Schaap and Kimmel remained silent and

omitted material information from Plaintiffs, including that:

               a. Pastor Schaap was receiving a commission on all of their Sure Line

                   Investments;

               b. Mr. Kimmel was receiving a commission on all of their Sure Line

                   Investments;

               c. 25% of each investor’s funds were being taken off the top to pay commissions

                   as soon as each investor’s check was turned over to Mr. Kimmel;

               d. They had been advised that the Sure Line Investments were likely a violation

                   of Indiana law; and,




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                e. Mr. Kimmel was not actually licensed to provide financial advisory services

                       or act as a seller of securities.

        98.     Defendant, through its agent Mr. Kimmel, omitted additional material facts and

remained silent on material facts known to him including that the Sure Line Investments were

not backed by a two-to-one collateral ratio and that investor funds were not actually being

invested, but were instead being used in a Ponzi Scheme to pay off other investors.

        99.     Plaintiffs relied on the actions of Defendant’s agents and the representations and

omissions of Defendant’s agents in that they invested hundreds of thousands of dollars in the

Sure Line Investments.

        100.    Plaintiffs suffered injury as a result of their reliance upon Defendant’s actions,

representations and omissions.

        101.    Defendant, through its agents Schaap and Kimmel, gained an advantage to the

expense of Plaintiffs by receiving large, undisclosed commission payments and kickbacks from

the Sure Line Investments. Pastor Schaap and Mr. Kimmel even specifically promoted the

investment as a means to allow parishioners to make more money to be able to provide to First

Baptist Church.


        WHEREFORE, in reliance on the foregoing, Plaintiffs pray this Court enter a judgment

against Defendant awarding Plaintiffs compensatory and reliance damages in the amount of the

sums they invested less payments received, punitive damages, fees and costs associated with this

litigation, pre and post judgment interest, and any and all other relief this Court deems just.

                                              Count II – Fraud


        102.    Plaintiffs incorporate the allegations in paragraphs 1 through 84 above as though

stated fully herein.

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       103.    At all times relevant, in carrying out their duties, Pastor Schaap and Mr. Kimmel

acted as the agents or, in the alternative, as apparent agents of Defendant.

       104.    While acting as Defendant’s agent and in the scope of his employment, Pastor

Schaap would inform members of the church, including Plaintiffs, during his sermons and other

church services that Mr. Kimmel was employed by Defendant as a financial advisor for the

parishioners of the church.

       105.    Mr. Kimmel’s actions in providing financial and investment advice, including

advising Plaintiffs to invest in the Sure Line Investments, were incidental to his duties at First

Baptist Church.

       106.    Mr. Kimmel’s wrongful conduct originated in activities closely associated with

his work at First Baptist Church and Defendant’s employment of Mr. Kimmel empowered him

and provided him the opportunity or the means to advise members of the church, including

Plaintiffs, on the Sure Line Investments.

       107.    Mr. Kimmel’s advice to Plaintiffs to invest in Sure Line was:

               a. Of the same general nature as his duties to provide financial advice,

                   counseling on getting out of debt, and investment advice to parishioners; and,

               b. Intermingled with, and arising out of, his authorized duties to provide

                   financial advice to members of First Baptist Church from his First Baptist

                   Church Office.

       108.    Defendant, through its agent Mr. Kimmel, made material misrepresentations of

past or existing facts that were false, including the Sure Line Investment Representations, the

Solicitation of the Elwells and the Solicitation of the Baldwins.




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        109.    Defendant, through its agent Mr. Kimmel, made these statements with knowledge

or reckless ignorance of their falseness.

        110.    Defendant, through its agents Pastor Schaap and Mr. Kimmel also omitted

material facts within their knowledge that were necessary to render other statements made not

misleading including facts concerning the commissions received; Mr. Kimmel’s licenses and

qualifications; and, their knowledge that the Sure Line Investments likely stood in violation of

Indiana law.

        111.    Plaintiffs relied on the omissions, false statements and material representations of

past or existing facts to their detriment and invested hundreds of thousands of dollars in the Sure

Line Investments pursuant to the advice of Defendants’ agents, Mr. Kimmel and Pastor Schaap.

        112.    As a proximate cause of Plaintiffs’ reliance on Defendant’s false statements and

omissions, Plaintiffs have suffered injury.


        WHEREFORE, in reliance on the foregoing, Plaintiffs pray this Court enter a judgment

against Defendant awarding Plaintiffs compensatory and reliance damages in the amount of the

sums they invested less payments received, punitive damages, fees and costs associated with this

litigation, pre and post judgment interest, and any and all other relief this Court deems just.


                       Count III – in the alternative - Negligent Retention

        113.    Plaintiffs incorporate the allegations in paragraphs 1 through 84 above as though

stated fully herein.

        114.    Defendant, as an employer, had a duty with regard to third persons injured by its

employees.

        115.    Defendant hired and retained Mr. Kimmel as an employee, at all times relevant to

this complaint, to act as Defendant’s employee and agent for the purposes of providing financial

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advice, debt counseling, budget counseling and investment advice to parishioners of Defendant’s

church from his First Baptist Church Office.

       116.    Defendant allowed Mr. Kimmel, in his capacity as Defendant’s employee, to use

Defendant’s property and provided him an office on that property to teach classes and seminars

to parishioners regarding financial advice and planning. Defendant knew or had reason to know

that it could have terminated Mr. Kimmel’s right to use that property at any time and terminate

his employment.

       117.    Defendant knew or had reason to know that it should have exercised control of

Mr. Kimmel in his role as an employee and prevent him from selling and soliciting the Sure Line

Investments to parishioners.

       118.    By no later than November 2007 Defendant, through its agent Pastor Schaap, was

made aware that the sale of the Sure Line Investments likely stood in violation of Indiana law as

the improper and unlicensed sale of unregistered securities to unsophisticated investors.

       119.    Defendant, had it exercised any reasonable diligence, should have known that by

no later than April 2010, the Alabama Securities Commission issued a Cease and Desist Order

barring Mr. Kimmel from selling the Sure Line Investments in Alabama as unlicensed and

unregistered securities.

       120.    With knowledge or reason to know of the potential illegality of the sales of the

Sure Line Investments, Defendant failed to take any action to terminate Mr. Kimmel’s

employment or request that he stop advising parishioners to invest in the Sure Line Investments

while acting as an employee of Defendant.




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       121.    Rather than terminate the relationship, Defendant’s agent, Pastor Schaap, chose to

continue to allow Mr. Kimmel to act as Defendant’s employee for the purposes of providing

investment advice, debt counseling and budget counseling to parishioners.

       122.    While retaining Mr. Kimmel to continue to offer investment advisory services to

parishioners of First Baptist Church, Defendant, through its agent Pastor Schaap, negligently

made representations to members of the church that would lead them to believe that Mr. Kimmel

was certified to provide the type of investment advice he was providing members of the church.

Pastor Schaap knew, or had reason to know, that Mr. Kimmel did not hold any requisite licenses

to act as an investment advisor or securities broker.

       123.    Defendant’s agent, Pastor Schaap, held a fiduciary relationship with Plaintiffs as

their Pastor and, while acting in that capacity and as Defendant’s agent, continued to encourage

parishioners to meet with Mr. Kimmel to receive investment advice after learning in 2007 that

the Sure Line Investments were likely unlawful.

       124.    Defendant’s agent, Pastor Schaap had the authority to terminate Mr. Kimmel at

any time but chose to retain Mr. Kimmel for the continued sale of the Sure Line Investments.

       125.    Defendant breached its duties by failing to terminate Mr. Kimmel’s:

               a. Employment with Defendant for the purpose of offering financial advice,

                   investment advice, debt counseling and budgeting counseling;

               b. Right and ability to hold the First Baptist Church Office for the purpose of

                   providing financial and investment advice to parishioner’s;

               c. Right and ability to teach seminars as Defendant’s employee on Defendant’s

                   property concerning investments, including the Sure Line Investments; and,

               d. Ability to solicit its parishioner’s to invest in the Sure Line Investments.



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       126.    As a direct and proximate result of Defendant’s breaches of duty and

misrepresentations and omissions during those breaches of duty, Plaintiffs suffered harm.


       WHEREFORE, in reliance on the foregoing, Plaintiffs pray this Court enter a judgment

against Defendant awarding Plaintiffs compensatory and reliance damages in the amount of the

sums they invested less payments received, punitive damages, fees and costs associated with this

litigation, pre and post judgment interest, and any and all other relief this Court deems just.

                                               Jury Demand

Pursuant to Rule 38(b) of the Federal Rules of Civil Procedure, Plaintiffs hereby demand a

jury trial on any and all issues triable of right by jury.


Respectfully Submitted this 5th day of May, 2016 by:

Higgins & Burke, P.C.


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